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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU

          SDN LIMITED and STEVEN NERAYOFF,

                                      Plaintiffs,                 Index No. 607805/2024

                           v.                                     Motion Sequence No. 1

          IOV LABS LIMITED, RIF LABS LIMITED, RSK
          LABS LIMITED, DIEGO GUTIERREZ ZALDIVAR,
          and ALEJANDRO MARIA ABERG COBO a/k/a ALEX
          COBO,

                                      Defendants.




                 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
                  TO EXTEND THE TIME TO COMPLETE SERVICE OF PROCESS




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                Plaintiffs SDN Limited (“SDN”) and Steven Nerayoff respectfully submit this

         memorandum of law in support of their motion, pursuant to CPLR 306-b, for the entry of an Order

         enlarging the time for service upon the foreign Defendants IOV Labs Limited, RIF Labs Limited,

         RSK Labs Limited, Diego Gutierrez Zaldivar, and Alejandro Maria Aberg Cobo a/k/a Alex Cobo.

                                          PRELIMINARY STATEMENT

                Plaintiffs commenced this action seeking damages and rescission arising from Defendants’

         fraud in connection with the offering and sale of RIF tokens (a digital token). Defendants are a

         number of related foreign entities, as well as their principals (foreign residents). Notwithstanding

         Plaintiffs’ service of process upon certain Defendants (via Hague Convention service by mail and

         separate service upon an officer/director), no Defendant has yet appeared in the action.

                By this motion, Plaintiffs respectfully request that the Court enter an Order extending the

         period for Plaintiff to complete service of process by an additional 120 days. Notwithstanding

         Plaintiffs’ diligent service efforts, such additional time is necessary: (1) to complete “formal”

         Hague Convention service via designated foreign Central Authorities upon certain Defendants;

         and (2) to complete personal service upon Defendant Cobo (a resident of Uruguay, a non-signatory

         to the Hague Convention).

                As detailed below, courts routinely extend the time for plaintiffs to complete service of

         process where, as here, such service is being made via the Hague Convention. Separately,

         extensions of time for service are proper under the “good cause” and “interest of justice” standards

         where, as here, Plaintiffs have been diligent in their service efforts.

                Accordingly, the Court should grant Plaintiffs an additional 120 days to complete service

         of process pursuant to CPLR 306-b.




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                                           STATEMENT OF FACTS1

         Overview of the Dispute

                Plaintiffs commenced this action for fraud, aiding-and-abetting fraud, and rescission

         arising from Defendants’ material misrepresentations made in connection with the offering and

         sale of RIF tokens (a digital token). See NYSCEF Doc. No. 1. More specifically, at various

         meetings with Plaintiffs, Defendants falsely represented that Defendants’ RIF blockchain was a

         second-layer blockchain solution that would provide Ethereum-style smart contract capabilities

         and other functionality to the Bitcoin blockchain.        At the time Defendants made these

         representations, upon which Plaintiffs reasonably relied, Defendants knew that the RIF blockchain

         had no such functionality, nor had any such functionality been developed by Defendants.

         Following the launch of the RIF blockchain, Defendants’ fraud was revealed and the value of

         Plaintiffs’ investments declined over 99%.

         The Foreign Defendants and the Status of Service of Process

                All Defendants in this action reside outside of the United States and are residents of

         Gibraltar (IOV Labs and RIF Labs), the British Virgin Islands (RSK Labs), Argentina (Mr.

         Zaldivar), and Uruguay (Mr. Cobo). Apart from Defendant Cobo, service upon the remaining

         Defendants must be made pursuant to the Hague Convention on the Service Abroad of Judicial

         and Extrajudicial Documents in Civil or Commercial Matters (the “Hague Convention”), or other

         conventional means pursuant to the CPLR.




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                  The exhibits cited herein are attached to the accompanying affirmation of John A. Piskora
         (“Piskora Aff.”).


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                1.      Conventional Service and Hague Convention Service by Mail

                The Hague Convention generally provides for service in signatory countries via a request

         for service made to that country’s central authority (“Formal Hague Convention Service”).

         Signatory countries may also authorize direct service upon a defendant by mail.

                In compliance with the Hague Convention, Plaintiffs have served IOV Labs, RIF Labs, and

         RSK Labs by mail. See NYSCEF Doc. Nos. 3-4. Separately, on July 26, 2024, Plaintiffs

         effectuated service upon RSK Labs through Raul Laprida, an officer and/or director of the

         company. See NYSCEF Doc. No. 2.

                2.      The Status of Formal Hague Convention Service

                In addition to the foregoing, and in an abundance of caution in certain instances, Plaintiffs

         have also undertaken Formal Hague Convention Service via service requests to applicable Central

         Authorities with respect to the corporate Defendants. Defendant Zaldivar, a resident of Argentina,

         must similarly be served by Formal Hague Convention Service, and Plaintiffs have initiated that

         service. More specifically, Plaintiffs sent completed USM-94 Requests for Service Abroad of

         Judicial or Extrajudicial Documents, with copies of the case initiation documents, upon the central

         authorities for Gibraltar, the British Virgin Islands, and Argentina. Although these service

         documents were delivered to the applicable Central Authorities for these countries in July 2024,

         we have been informed that the completion of service by the Central Authorities and delivery of

         proof of service may take up to an additional 120 days. See Piskora Aff. at ¶ 7; Ex. 1.

                3.      The Status of Service Upon Defendant Cobo

                Upon information and belief, Defendant Cobo is a resident of Uruguay. Uruguay is not a

         signatory to the Hague Convention. Plaintiffs unsuccessfully attempted to serve Mr. Cobo in




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         Florida. Now, Plaintiffs are undertaking to serve Mr. Cobo personally in Uruguay. See Piskora

         Aff. at ¶ 8; Ex. 2 (Aff. of Non-service).

                                                     ARGUMENT

         I.     The Court Should Enlarge Plaintiffs’ Time to Serve the Foreign Defendants

                Absent leave of Court, plaintiffs have 120 days from the commencement of an action to

         complete service of a summons and complaint or summons with notice. CPLR § 306-b. “The

         120-day service provision of CPLR 306-b can be extended by a court, upon motion, ‘upon good

         cause shown or in the interest of justice,’” which are “two separate and independent statutory

         standards.” Bumpus v. N.Y.C. Transit Auth., 66 A.D.3d 26, 31 (2d Dep’t 2009) (quoting CPLR

         306-b)). Here, an extension of time to complete the Formal Hague Convention Service and

         separate personal service upon Defendant Cabo in Uruguay is warranted because Plaintiffs have

         satisfied both the good cause and the interest of justice standards.

                A.      Plaintiffs Have Established Good Cause

                To establish “good cause” a plaintiff need only demonstrate “reasonable diligence in

         attempting service.” Bumpus v. N.Y.C. Transit Auth., 66 A.D.3d at 31. In addition, “good cause

         may be found to exist where the plaintiff's failure to timely serve process is a result of

         circumstances beyond the plaintiff's control.” Id. at 32. Courts routinely find that the difficulty

         associated with effecting service upon a party located outside to the United States pursuant to the

         Hague Convention constitutes “good cause” for extending the 120 day service provision of CPLR

         §306-b. See, e.g., Kulpa v. Jackson, 3 Misc. 3d 227, 236 (Sup. Ct. Oneida Cty. 2004) (“In

         situations involving service under the Hague Convention the treaty mandates the delegation of the

         duty and actuality of service to a foreign sovereign over whom the litigant, definitionally, has

         absolutely no control. All that an attorney can do regarding service pursuant to the Hague

         Convention is follow the proper procedures to cast his client on the tender mercies of a foreign



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         sovereign which may or may not have much interest in effecting the involvement of its citizens in

         litigation in the United States. Once the papers have been successfully delivered to the sovereign,

         the domestic litigant's counsel has done all she can, and if additional months--or years--are required

         to let the sovereign work his will, so be it, and courts should routinely correspondingly extend the

         time provided to complete the task of achieving proper service under the Hague Convention.”)

         accord Bumpus v. N.Y.C. Transit Auth., 66 A.D.3d at 31); Paolicelli v. Soc'y of the Cath.

         Apgstolate-Queen of the Apostles Province, No. 61049/2021, 2022 N.Y. Misc. LEXIS 45244, at

         *3 (Sup. Ct. Nassau Cty. Mar. 23, 2022) (granting extension of time to complete service pursuant

         to Hague convention). Plaintiffs have undertaken diligent service efforts here.

                The foregoing cases apply with equal force here, and the Court should grant Plaintiffs an

         additional 120 days to complete service of process upon all of the foreign Defendants.

                B.        An Extension of Time Would Serve the Interests of Justice

                Separately and independently, an extension of time to complete service is in the interests

         of justice. Under the “interest of justice” standard, plaintiff need not establish reasonably diligent

         efforts at service as a threshold matter.” Leader v. Maroney, 97 N.Y.2d 95, 105 (2001). Instead,

         the court may consider:

                diligence, or lack thereof, along with any other relevant factor in making its
                determination, including expiration of the Statute of Limitations, the meritorious
                nature of the cause of action, the length of delay in service, the promptness of a
                plaintiff’s request for the extension of time, and prejudice to defendant...No one
                factor is determinative - the calculus of the court's decision is dependent on the
                competing interests of the litigants and a clearly expressed desire by the Legislature
                that the interests of justice be served.

         Id. at 105-06.

                Here, Plaintiffs have alleged a meritorious claims. Plaintiffs have not delayed, but have

         rather acted diligently in their service efforts. Further, Defendants will not be prejudiced by an

         extension of time for further service efforts because Plaintiffs have already effected service by


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         mail in accordance with the Hague Convention and, thus, Defendants are surely on notice of

         Plaintiffs’ action.

                 Accordingly, the Court should grant Plaintiffs an additional 120 days to complete service

         of process upon all of the foreign Defendants in the interest of justice.

                                                   CONCLUSION

                 For each of the foregoing reasons, Plaintiffs respectfully submit that the Court should grant

         their motion and enter and Order extending the time for Plaintiffs to complete service for an

         additional 120 days, and grant such other and further relief as the Court deems just and proper.


         Dated: New York, New York
                August 21, 2024
                                                        LOEB & LOEB LLP


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                       Certificate of Compliance with Rule 17 of 22 N.Y.C.R.R. 202.70(g)

                 I hereby certify that the number of words in the foregoing memorandum of law, according

         to the word count of the word processing program utilized, inclusive of point headings and

         footnotes, and exclusive of the caption, table of contents, table of authorities, signature block and

         this certificate of compliance, is 1,546.

         Dated: New York, New York
                August 21, 2024


                                                              /s/ John A. Piskora
                                                            JOHN A. PISKORA
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